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                 United States Court of Appeals
                                  For the First Circuit
                                      _____________________
 No. 18-1144
                                          LEE HUTCHINS,

                                          Plaintiff, Appellee,

                                                   v.

                          DANIEL J. MCKAY; FELIX M. ROMERO;
                        THOMAS HERVIEUX; CITY OF SPRINGFIELD,

                                       Defendants, Appellants.
                                       __________________

                                                Before

                                  Torruella, Lynch, and Thompson,
                                           Circuit Judges.
                                       __________________

                                            JUDGMENT

                                     Entered: November 8, 2018

         On May 25, 2018, this court issued a show cause order directing the appellants to
 demonstrate why this appeal should not be dismissed for lack of jurisdiction. The order noted that
 "[u]pon review of the record, it appears that this court may not have jurisdiction to consider the
 appeal because the denial of qualified immunity may have been based on the existence of disputed
 issues of fact." Order dated May 25, 2018, at p. 1 (citing Tang v. State of R.I., Dept. of Elderly
 Affairs, 120 F.3d 325, 326 (1st Cir. 1997)); see McKenney v. Mangino, 873 F.3d 75, 80 (1st Cir.
 2017) (court has jurisdiction to review an interlocutory denial of qualified immunity only so long
 as the ruling is "purely legal in nature").

         We are in receipt of the appellants' response to the show cause order. That response fails
 to address our concern that the district court's denial of qualified immunity appears to have been
 based on the existence of genuine issues of material fact. It is not sufficient to assert that we have
 jurisdiction solely because the appellants have asserted a defense of qualified immunity. See id.
 The appellants bear the burden of establishing that we have jurisdiction. See U.S. Fidelity & Guar.
 Co. v. Arch Ins. Co., 578 F.3d 45, 55 (1st Cir. 2009) (citations and internal quotation marks
 omitted). Because the appellants' response fails to address the concerns highlighted in our show
 cause order, we dismiss this matter for lack of jurisdiction.

        Appeal dismissed. See 1st Cir. R. 27.0(c).
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                                            By the Court:

                                            Maria R. Hamilton, Clerk


 cc:
 Luke S. Ryan
 Kevin Barry Coyle
 Lisa Caryl deSousa
